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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


City of Chicago,

                    Plaintiff,

        v.                                           Civil Action No. 1:21-cv-05162

DoorDash, Inc. and Caviar, LLC,                      Hon. Jeremy C. Daniel
                                                     Magistrate Judge Jeffrey T. Gilbert
                    Defendants.



                                   JOINT STATUS REPORT

        Pursuant to this Court’s orders dated December 23, 2022 (ECF No. 90) and December 19,

2022 (ECF No. 87) directing the parties to file a status report seven days after each rolling

production deadline to provide information about the last rolling production, what has been

produced to date in total, and what remains to be produced, the parties hereby file this Joint Status

Report concerning the April 26, 2024 production deadline.

I.      Status of the City’s Document Productions

        A. Documents Produced by the City To Date

        As of April 26, the City has produced 7,279 documents, totaling 55,600 pages, in rolling

productions. The City’s prior productions are described in more detail in the prior joint status

reports (ECF Nos. 96, 101, 105, 109, 115, 151, 164, 174, 194, 200, 202, 216, 230, 234, 242, 246,

249, 250, 282, 294, 304, 308).




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         The City’s April 15, 2024 production contained 44 documents and 124 pages. This

production contained documents responsive to the following, among others:

                •   RFP No. 30 (documents the City may rely on at trial).

                •   Interrogatory No. 6 (test order documentation)

                •   The City’s April 26 production contained 200 documents and 273 pages. This
                    production contained documents responsive to the following, among others:

                •   RFP No. 89 (Documents related to the October 30, 2020 meeting titled
                    “Economic Relief Discussion for Chicago Restaurants”)

                •   RFP No. 93 (Documents related to the July 14, 2021 meeting titled “Third
                    Party Food Delivery Meeting”)

         B. Remaining Documents to be Produced

         The parties are in the process of meeting and conferring on Defendants’ Eighth and Ninth

Sets of Requests for Production (Nos. 107-130) as well as other requests. In the parties’ Joint

Status Report filed on March 15, the City identified productions it could make in response to

RFP Nos. 43, 88, 89, 91-93, and 98. The City is in the process of reviewing documents

responsive to certain of its proposals and continues to negotiate others with Defendants. The City

shortly expects to produce documents responsive to RFP Nos. 109 and 110. The City continues

to review its overall production for completeness. The City produced a privilege log on March 1,

and is corresponding with Defendants on possible revisions to its log. The City will supplement

the log to reflect privileged documents identified in any future searches agreed to in the parties’

discovery negotiations or directed by the Court.


II.      Status of DoorDash’s Document Productions




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       A.       Documents Produced by DoorDash to Date

       DoorDash did not make a production on April 26, because it is in the process of collecting,

reviewing, and producing documents responsive to the City’s most recent set of RFPss, to which

DoorDash just served responses and objections on April 22, 2024. Since August 2022, DoorDash

has produced a total of 7,422 documents and 38,119 pages across 25 productions. The documents

produced to date include:

            •   Custodial documents responsive to the City’s document requests relating to

                minimum amount promotional discounts, non-partner restaurants, Dasher pay,

                consumer fees, and menu pricing;

            •   Documents identified in known non-custodial locations;

            •   Documents identified from DoorDash’s review of documents produced in related

                investigations and litigations; and

            •   Spreadsheets that were created in order to respond to the City’s requests for specific

                data.

Additionally, DoorDash served its privilege log on the City on March 22, 2024.

       B.       Remaining Documents to be Produced

       As noted above, DoorDash is in the process of collecting, reviewing, and producing

additional documents responsive to the City’s RFPs, Set Five, served on March 15, 2024. The

parties are also actively meeting and conferring as to the scope of certain of those RFPs. In

addition, the City has sent a number of meet-and-confer letters outlining or revisiting discovery

issues, including certain issues which were last discussed in the summer of 2023. DoorDash is in

the process of responding to these letters, conferring with the City in good faith, and assessing

what may be collected and produced in response. DoorDash also continues to review and prepare


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for production documents responsive to searches requested by the City across certain listserv

inboxes. Finally, DoorDash anticipates producing, either on the next rolling production deadline

or before, Salesforce data relating to communications from consumers, restaurants, and Dashers.

 DATED: May 3, 2024                           Respectfully submitted,

 CITY OF CHICAGO DEP’T OF LAW,                COHEN MILSTEIN SELLERS & TOLL PLLC
 AFFIRMATIVE LITIGATION
 DIVISION

 By: /s/ Peter H. Cavanaugh                   By: /s/ Brian E. Bowcut
 Stephen J. Kane                              Brian E. Bowcut (pro hac vice)
 Peter H. Cavanaugh                           Peter S. Ketcham-Colwill (pro hac vice)
 121 N. LaSalle St.                           1100 New York Avenue, NW, Suite 500
 Room 600                                     Washington, D.C. 20005
 Chicago, IL 60602                            Phone: (202) 408-4600
 Phone: (312) 744-6934                        bbowcut@cohenmilstein.com
 stephen.kane@cityofchicago.org               pketcham-colwill@cohenmilstein.com
 peter.cavanaugh@cityofchicago.org
                                              Lisa M. Ebersole (pro hac vice)
                                              88 Pine Street, 14th Floor
                                              New York, NY 10005
                                              Phone: (202) 408-4600
                                              lebersole@cohenmilstein.com

                                              Attorneys for Plaintiff City of Chicago




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GIBSON, DUNN & CRUTCHER LLP            FORDE & O’MEARA LLP

By: /s/ Michael Holecek                By: /s/ Michael K. Forde
Joshua S. Lipshutz (pro hac vice)      Michael K. Forde
1050 Connecticut Avenue NW             Brian P. O’Meara
Washington, DC 20036                   191 North Wacker Drive
Phone: (202) 955-8500                  31st Floor
jlipshutz@gibsondunn.com               Chicago, Illinois 60606
                                       Phone: (312) 641-1441
Michael Holecek (pro hac vice)         mforde@fordellp.com
Cynthia Chen McTernan (pro hac vice)   bomeara@fordellp.com
333 S. Grand Avenue
Los Angeles, CA 90071                  RILEY SAFER HOLMES
Phone: (213) 229-7000                  & CANCILA LLP
mholecek@gibsondunn.com
cmcternan@gibsondunn.com               By: /s/ Patricia Brown Holmes
                                       Patricia Brown Holmes
                                       Sarah E. Finch
                                       70 W. Madison Street
                                       Suite 2900
                                       Chicago, IL 60602
                                       Phone: (312) 471-8700
                                       pholmes@rshc-law.com
                                       sfinch@rshc-law.com

                                       Attorneys for Defendants DoorDash, Inc. and Caviar,
                                       LLC




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